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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE


  In re:                                                 Chapter 11

  FTX TRADING LTD., et al.,                              No. 22-11068 (JTD)

                         Debtors                         (Jointly Administered)


                 TRANSFER OF CLAIM OTHER THAN FOR SECURITY

       A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(1) of the Federal Rules of
Bankruptcy Procedure of the transfer, other than for security, of the claim referenced in this
evidence and notice.

 Name of Transferor:                                 Name of Transferee:

 Name (Redacted)                                     Cherokee Debt Acquisition, LLC

 Name and Current Address of                         Name and Address where notices and payments to
 Transferor:                                         transferee should be sent:
 Name (Redacted)                                     Cherokee Debt Acquisition, LLC
                                                     Attn: Vladimir Jelisavcic
                                                     Email: vjel@cherokeeacq.com
                                                     1384 Broadway, Suite 906
                                                     New York, NY 10018

  Claim No./Schedule        Creditor Name              Amount                 Debtor             Case No.
 Schedule No. 6272865       Name (Redacted)        as described on        FTX Trading Ltd.       22-11068
                                                       Register
                                                      (attached)
  Confirmation ID No.       Name (Redacted)         Unliquidated          FTX Trading Ltd.       22-11068
   3265-70-BABJV-                                 (stated in crypto)
      313302050
  Customer Code No.         Name (Redacted)        as described on        FTX Trading Ltd.       22-11068
       01265251                                      Schedule F
                                                      (attached)

I declare under penalty of perjury that the information provided in this notice is true and correct
to the best of my knowledge and belief.


By: _____________________                                                               26 2024
                                                                       Date: September ____,
Transferee/Transferee’s Agent
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                                      Identity of Transferor


Transferee has in its possession an Evidence of Transfer signed by the Transferor.

In order to protect the identity of the Transferor, Transferee has not disclosed the Transferor’s
name or address, and has not attached the signed Evidence of Transfer to this notice of Transfer
of Claim.

Upon written request, Transferee is prepared to provide a copy of the signed Evidence of
Transfer to the Bankruptcy Court, the Debtors, and appropriate professionals.
